     Case 2:21-cv-01530-AMM Document 226 Filed 08/08/23 Page 1 of 6            FILED
                                                                      2023 Aug-08 AM 10:15
                                                                      U.S. DISTRICT COURT
                                                                          N.D. OF ALABAMA
                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

BOBBY SINGLETON, et al.,            )
                                    )
     Plaintiffs,                    )
                                    )
v.                                  )
                                        Case No.: 2:21-cv-1291-AMM
                                    )
WES ALLEN, in his official          )
                                          THREE-JUDGE COURT
capacity as Alabama Secretary of    )
State, et al.,                      )
                                    )
     Defendants.                    )


EVAN MILLIGAN, et al.,              )
                                    )
     Plaintiffs,                    )
                                    )
v.                                  )
                                        Case No.: 2:21-cv-1530-AMM
                                    )
WES ALLEN, in his official          )
                                          THREE-JUDGE COURT
capacity as Alabama Secretary of    )
State, et al.,                      )
                                    )
     Defendants.                    )


MARCUS CASTER, et al.,              )
                                    )
     Plaintiffs,                    )
                                    )
v.                                  )   Case No.: 2:21-cv-1536-AMM
                                    )
WES ALLEN, in his official          )
capacity as Secretary of State of   )
Alabama, et al.,                    )
                                    )
     Defendants.                    )
       Case 2:21-cv-01530-AMM Document 226 Filed 08/08/23 Page 2 of 6




Before MARCUS, Circuit Judge, MANASCO and MOORER, District Judges.

BY THE COURT:

                                      ORDER

      In 2022, this Court preliminarily enjoined the Alabama Secretary of State

from conducting elections using the 2021 congressional districting plan enacted by

the Alabama Legislature (“the 2021 Plan”) upon finding that the 2021 Plan likely

violated Section 2 of the Voting Rights Act, 52 U.S.C. § 10301 (“Section Two”).

See Singleton Doc. 88; Milligan Doc. 107; Caster Doc. 101.

      Although this Court gave the Alabama Legislature the first opportunity to

enact a remedial plan, the Court notified the parties of its intent to appoint Mr.

Richard Allen as a Special Master and Dr. Nathaniel Persily as an expert

cartographer in the event the Court was required to order its own remedial districting

plan. See Singleton Doc. 101; Milligan Doc. 129; Caster Doc. 119. The parties were

afforded an opportunity to object, and no party objected to these appointments.

Accordingly, on February 7, 2022, the Court appointed Mr. Allen and Dr. Persily as

Special Master and expert cartographer, respectively. Singleton Doc. 102; Milligan

Doc. 130; Caster Doc. 120. That same day, and before either Mr. Allen or Dr.

Persily had conducted any work, the Supreme Court stayed our preliminary

injunction.




                                          2
       Case 2:21-cv-01530-AMM Document 226 Filed 08/08/23 Page 3 of 6



      On June 8, 2023, the Supreme Court affirmed our preliminary injunction in

all respects. Milligan v. Allen, 143 S. Ct. 1487, 1504–06 (2023). Soon after, we

held a status conference to discuss the nature and timing of the remainder of the

proceedings in these cases. See Milligan Doc. 165; Caster Doc. 153; Singleton Doc.

132. The Defendants requested that the Court refrain from ordering the parties to

conduct remedial proceedings or additional discovery until the Alabama Legislature

had been afforded an adequate opportunity to enact a new congressional districting

plan. Milligan Doc. 166; Caster Doc. 154; Singleton Doc. 133. We granted the

Alabama Legislature that opportunity by entering a scheduling order on June 20,

2023, that declined to require the parties to engage in any discovery or further

proceedings until July 21, 2023. See Milligan Doc. 168; Caster Doc. 156; Singleton

Doc. 135. Should the Alabama Legislature successfully enact a new plan by that

date, our order directed the Plaintiffs to file their objections to that plan (if any) by

July 28, 2023, the Defendants to file any response by August 4, 2023, and the

Plaintiffs to file any reply by the close of business on August 7, 2023. Milligan Doc.

168; Caster Doc. 156; Singleton Doc. 135.

      On July 21, 2023, the Legislature enacted a new congressional districting plan

(“the 2023 Plan”). Pursuant to our scheduling order, on July 28, 2023, the Milligan

and Caster Plaintiffs timely filed their objections, which contained, among other

materials, detailed reports by expert witnesses Dr. Baodong Liu, Dr. Joseph Bagley,



                                           3
        Case 2:21-cv-01530-AMM Document 226 Filed 08/08/23 Page 4 of 6



and Dr. Maxwell Palmer, and other documentary evidence.1 See Milligan Doc. 200;

Caster Doc. 179. On August 4, 2023, the Defendants timely filed a response,

likewise submitting evidence including opinions from two expert witnesses, Mr.

Thomas Bryan and Mr. Sean Trende, and other documentary evidence. Milligan

Doc. 220; Caster Doc. 191. On August 7, 2023, the Milligan and Caster Plaintiffs

timely replied. Caster Doc. 195. A remedial proceeding is set down for a hearing

on August 14, 2023.

       On July 24, 2023, Dr. Persily withdrew as an expert cartographer. See

Singleton Doc. 141; Milligan Doc. 187; Caster Doc. 166. After taking submissions

for proposed cartographers from the parties, see Singleton Docs. 141, 150, 151;

Milligan Doc. 187, 197, 198; Caster Doc. 166, 174, 175, the Court notified the

parties of its intent to appoint Mr. David R. Ely as an expert cartographer, see

Singleton Doc. 155; Milligan Doc. 204; Caster Doc. 185. The Court gave the parties

an opportunity to object, see Singleton Doc. 155; Milligan Doc. 204; Caster Doc.

185, and no party has objected to this appointment. Accordingly, pursuant to the

Court’s inherent authority and Federal Rule of Civil Procedure 53, Mr. David Ely is

APPOINTED as an expert cartographer to assist Mr. Allen in the performance of

his duties and responsibilities as Special Master.




1
  The Singleton Plaintiffs timely moved for a preliminary injunction prohibiting the Defendants
from conducting upcoming elections using the 2023 Plan, alleging that this Plan too violates the
Equal Protection Clause of the Fourteenth Amendment. See Singleton Doc. 147
                                               4
       Case 2:21-cv-01530-AMM Document 226 Filed 08/08/23 Page 5 of 6



      In the face of the exigent time limitations presented, the parties are ADVISED

that the Court has instructed Mr. Allen to study the record in these cases in the event

his services may be required to draw a remedial map. If further work by Mr. Allen

and his team is necessary, the Court will issue additional instructions in an

appropriate order.

      Mr. Allen has requested that the Court appoint an attorney and law firm to

assist him in his work as necessary. The parties are ADVISED that the Court finds

Michael Scodro of Mayer Brown LLP and that firm qualified to assist Mr. Allen in

these cases. We invite the parties to submit any comments or objections to the

appointment of Mr. Scodro and the Mayer Brown LLP law firm on or before 12:00

P.M. (noon) CDT on FRIDAY, AUGUST 11, 2023.

      All reasonable costs and expenses of Mr. Allen as Special Master and his

team, including reasonable compensation for Mr. Ely, Mr. Scodro, and any assistants

they may retain, shall, subject to the approval of this Court, be paid by the State of

Alabama.

      Pursuant to Federal Rule of Civil Procedure 53(b)(3), Mr. Allen, Mr. Ely, and

Mr. Scodro are DIRECTED to file affidavits disclosing whether there is any ground

for disqualification under 28 U.S.C. § 455 of them or any assistants on or before

5:00 P.M. CDT on THURSDAY, AUGUST 10, 2023.

      DONE and ORDERED this 8th day of August, 2023.



                                          5
Case 2:21-cv-01530-AMM Document 226 Filed 08/08/23 Page 6 of 6




                         STANLEY MARCUS
                         UNITED STATES CIRCUIT JUDGE



                         _________________________________
                         ANNA M. MANASCO
                         UNITED STATES DISTRICT JUDGE




                              6
